                                      CASE 0:18-cr-00286-ADM-DTS Doc. 6 Filed 11/16/18 Page 1 of 1

                                                  IN THE UNITED STATES DISTRICT COURT
                                                     FOR THE DISTRICT OF MINNESOTA

                                                      INITIAL APPEARANCE
UNITED STATES OF AMERICA,                                      )             COURTROOM MINUTES - CRIMINAL
                                                               )               BEFORE: Elizabeth Cowan Wright
                                         Plaintiff,            )                   U.S. Magistrate Judge
                                                               )
   v.                                                          )    Case No:               18-cr-286 ADM/DTS
                                                               )    Date:                  November 16, 2018
Sheri Marie Lemma,                                             )    Courthouse:            St Paul
                                                               )    Courtroom:             3C
                                         Defendant,            )    Time Commenced:        2:51 p.m.
                                                                    Time Concluded:        3:00 p.m.
                                                                    Time in Court:         9 minutes


APPEARANCES:
   Plaintiff: Allen Slaughter, Assistant U.S. Attorney
   Defendant: Ryan Pacyga,
                           Retained

   Date Charges Filed:                   11/15/2018   Offense: Wire fraud, False statements relating to health care matters

    Advised of Rights

on             Indictment

 Bond RPR set in the amount of $25,000.00 with conditions, see Order Setting Conditions of Release.

Next appearance date is Tuesday, November 20, 2018, at 11:00 a.m. before U.S. Magistrate Judge Becky R. Thorson,
Courtroom 6A STP, for:
  Arraignment


 Government moves to unseal the case.                       Granted

Additional Information:



                                                                                                         s/Sarah Erickson
                                                                                                       Signature of Courtroom Deputy




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